          Case 1:14-cr-10175-IT Document 306 Filed 10/22/15 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                     *
                                             *
               v.                            *              Criminal No.    14-10175-5-IT
                                             *
GUILLERMO ORQUIRIO ROSARIO                   *
COLON,                                       *
                                             *
               Defendant.                    *


                                             ORDER

                                        October 21, 2015

TALWANI, D.J.

       Defendant Rosario Colon’s Motion for Court Recommendation Related to Location of

Incarceration [#299] is ALLOWED. The court will include in the Judgment a recommendation

that Defendant Rosario Colon be housed at a BOP facility in close proximity to Middlesex,

Massachusetts.

       Defendant Rosario Colon’s Motion for Return of Personal Property-Post Sentencing

[#288] is MOOT in light of the Government’s representations at the sentencing hearing. The

Government represented at the hearing that it intends to return the items found in paragraphs

4(a)-(c) of Defendant’s motion after the final sentencing in this case. The Government further

represented that it does not have possession of the item described in paragraph 4(d).

       IT IS SO ORDERED.

                                                            /s/ Indira Talwani
                                                            United States District Judge
